         Case 1:17-cv-00099-JKB Document 177 Filed 01/04/19 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES                        *
OF AMERICA,
                                     *
       Plaintiff,
                                     *
       v.                                           CIVIL NO. JKB-17-0099
                                     *
BALTIMORE POLICE
DEPARTMENT, et al.,                  *

       Defendants.                   *


                      MONITORING TEAM REPORT ON
              COMPLIANCE REVIEWS AND OUTCOME ASSESSMENTS

       Since submitting a preliminary outcome assessment process and methodology plan in July

2018, see ECF No. 121, the Monitoring Team, the Baltimore Police Department (“BPD”) and the

Department of Justice (“DOJ”) have worked diligently toward enabling the Monitoring Team to

commence certain compliance reviews and outcome assessments that the Consent Decree requires.

       First, the Monitoring Team has constructed proposed methodologies for performing

comprehensive qualitative assessments of (1) BPD officer uses of force; (2) BPD officer stops,

searches and arrests; (3) misconduct investigations conducted by BPD’s Office of Professional

Responsibility (“OPR”); (4) BPD responses to First Amendment-protected activities; and (5) BPD

sexual assault investigations. The Monitoring Team, BPD and DOJ remain in discussions to

finalize those methodologies.

       Second, under the draft Second-Year Monitoring Plan, which is currently available to the

public for review and comment, the Monitoring Team will begin a structured qualitative analysis

of OPR misconduct investigations on February 1, 2019. The purpose of this initial analysis will be

to obtain a baseline for assessing OPR investigations going forward. For the same purpose, the
         Case 1:17-cv-00099-JKB Document 177 Filed 01/04/19 Page 2 of 4



Monitoring Team will begin structured qualitative analyses of uses of force and stops, searches,

and arrests beginning in April and July 2019, respectively.

       Third, on the required surveys of Baltimore community members, detained arrestees, and

BPD officers, the Monitoring Team and its subcontractors, including Morgan State University,

Rose Street Community Center, and the University of Toronto, have worked to develop the

methodologies and logistics of conducting the surveys. Under the draft Second-Year Monitoring

Plan, the surveys should be completed by the end of February 2019, with final reports on the results

filed with the Court by June 7, 2019.

       Finally, under the draft Second-Year Monitoring Plan, the Monitoring Team, BPD and

DOJ will continue developing methodologies for the outcome assessments required by Paragraph

459 of the Consent Decree, and will commence several of those outcome assessments in Year

Two.

       Originally, the Monitoring Team had projected to the Court that, working with the parties,

it would now be somewhat further along in the compliance review and outcome assessment

process. However, pragmatic considerations have required timelines to be extended. Most

prominently, the current state of BPD’s data systems either prevent the type of quantitative

analyses that the Consent Decree requires or make those analyses extremely time-consuming and

complicated. Additionally, as the Court is aware, intensive work on critical deliverables under the

First-Year Monitoring Plan have required substantial effort by the Monitoring and the parties. As

the forthcoming Second Semi-Annual Report will explain, these deliverables include, but are not

limited to, a host of new and revised BPD policies on use of force, stops, searches and arrests,

body-worn cameras, impartial policing, sexual assault investigations, transportation of persons in

custody, officer wellness, and First Amendment-protected activities; a comprehensive staffing



                                                 2
          Case 1:17-cv-00099-JKB Document 177 Filed 01/04/19 Page 3 of 4



study; a thorough technology study and technology plan; new protocols and procedures for OPR;

and a new set of major officer training initiatives. The Monitoring Team and the parties have had

to devote extraordinary time and resources to getting these foundational Consent Decree initiatives

right.

         On February 5, 2019, the Monitoring Team will submit a finalized Second-Year

Monitoring Plan for the Court’s review and approval. The Second-Year Monitorng Plan will

memorialize the above-referenced timelines for the compliance reviews and outcome assessments

that will be conducted during the second monitoring year.



                                                            Respectfully submitted,


                                                            ___________/s/_______________
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                                                3
        Case 1:17-cv-00099-JKB Document 177 Filed 01/04/19 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2019, copies of the foregoing Report were served via the

Court’s ECF system upon all counsel of record.


                                                            __________/s/___________
                                                            Seth Rosenthal
